Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 1 of 7
Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 2 of 7
Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 3 of 7
Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 4 of 7
Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 5 of 7
Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 6 of 7
Case 3:04-cr-00103-WHB-JCS   Document 30   Filed 02/09/06   Page 7 of 7
